                                         UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF ARIZONA

                                                        Minute Entry
Hearing Information:
                       Debtor:     GREGG SETH REICHMAN
                 Case Number:      0:10-bk-24374-RJH         Chapter: 7

          Date / Time / Room:      WEDNESDAY, JANUARY 05, 2011 10:00 AM BULLHEAD

         Bankruptcy Judge:         RANDOLPH J. HAINES
              Courtroom Clerk:
               Reporter / ECR:     N/A                                                                 0.00


Matter:
              HEARING ON G. JAN BEEKHUIS OBJECTION TO TRUSTEE'S MOTION FOR ABANDOMENT OF ALL RIGHT,
              TITLE & INTEREST OF THE BANKRUPTCY ESTATE IN GSG PROPERIES, LLC & ACTIVE FINANCE GROUP
              LLC
              R / M #: 32 / 0
              VACATED: 1/3/11 Order Entered


Appearances:
        NONE




Proceedings:                                                                                    1.00

        VACATED: 1/3/11 Order Entered




    Case 0:10-bk-24374-EPB                 Doc 44 Filed 01/05/11 Entered 01/05/11 07:59:10 Desc
Page 1 of 1                                 Main Document Page 1 of 1                    01/05/2011 7:59:03AM
